                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                      NO. 5:19-CV-529-FL


 BEAR INVESTMENTS, LLC,                          )
                                                 )
                        Plaintiff,               )
                                                 )
       v.                                        )                    ORDER
                                                 )
 PENN NATIONAL MUTUAL                            )
 CASUALTY INSURANCE COMPANY,                     )
                                                 )
                        Defendant.               )



       The court has been advised that the parties have settled all matters in controversy among

them. Therefore, this matter is DISMISSED subject to the right of any party to file a motion to

reopen the case should settlement not be consummated within 45 days hereof. The parties are

directed to file their Stipulation of Dismissal with Prejudice on or before April 7, 2025.

Additionally, trial in this matter now set to commence February 24, 2025, is DISCONTINUED.

       As there appears to be no further reason at this time to maintain the file as an open one for

statistical purposes, this case is removed from the active docket.

       SO ORDERED, this the 21st day of February, 2025.



                                      __________________________________
                                      LOUISE W. FLANAGAN
                                      United States District Judge




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